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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

   BOROUGH OF EDGEWATER,                      Case Nos.: 2:14-CV-05060-JMV-JBC
                                              Hon. John M. Vazquez, U.S.D.J.
         Plaintiff,                           Hon. James B. Clark, III, U.S.M.J.

         v.

   WATERSIDE CONSTRUCTION,
   LLC; 38 COAH, LLC; DAIBES
   BROTHERS, INC.; NORTH RIVER
   MEWS ASSOCIATES, LLC; FRED A.
   DAIBES; TERMS
   ENVIRONMENTAL SERVICES,
   INC.; ALCOA INC. (formerly known as
   “Aluminum Company of America”);
   ALCOA DOMESTIC LLC, as                     LOCAL CIVIL RULE 56.1
   successor in interest to A.P. NEW          RESPONSE TO PLAINTIFF
   JERSEY, INC.; JOHN DOES 1-100;             BOROUGH OF EDGEWATER’S
   and ABC CORPORATIONS 1-100,                COUNTERSTATEMENT OF
                                              UNDISPUTED MATERIAL FACTS
         Defendants,
   and
   WATERSIDE CONSTRUCTION,
   LLC; 38 COAH, LLC; DAIBES
   BROTHERS, INC.; NORTH RIVER
   MEWS ASSOCIATES, LLC; and
   FRED A. DAIBES,

         Defendants/Third-Party Plaintiffs,
         v.

   NEGLIA ENGINEERING
   ASSOCIATES,

         Third-Party Defendant,

   and
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   ALCOA DOMESTIC, LLC, as
   successor in interest to A.P. NEW
   JERSEY, INC.,

         Defendant/Third-Party Plaintiff,
         v.

   COUNTY OF BERGEN and RIVER
   ROAD IMPROVEMENT PHASE II,
   INC., and HUDSON SPA, LLC,

         Third-Party Defendants.
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              Pursuant to Local Civil Rule 56.1, Defendants Arconic Inc, and Arconic

  Domestic LLC (collectively “Arconic”) set forth this Response to Plaintiff Borough

  of Edgewater’s Counterstatement of Material Facts.

        1.     Arconic objects to this Paragraph as providing insufficient evidence to

  support the statements therein. The Paragraph merely cites to Paragraph 3 of the

  Franz Affidavit, which provides no evidence as to when the referenced document

  was first posted to the Veterans Field website. Moreover, it appears that the

  referenced document may not have been posted on the Borough’s website until

  March 17, 2015. (See Rysavy Cert. ¶ 17, Ex. 15).

        2.     Undisputed that the description provided by the Borough is reflected in

  the document upon which it relies, but the Borough’s only evidence that the

  document was uploaded to its website is a citation to the affidavit of Gregory Franz,

  which itself cites to no evidence in support of the statement.

        3.     Disputed. This Paragraph merely recites verbatim a paragraph of the

  Franz Affidavit, which itself cites to no evidence to support the statements other than

  to say that “the minutes of the meetings are available on the website.” According to

  the website, the Veterans Field project began in 2011 (see generally Veteran’s Field

  Archives,        THE        BOROUGH           OF        EDGEWATER,           http://nj-

  edgewater.civicplus.com/234/Veterans-Field-Archives), but the Borough’s website

  includes no agendas or minutes for Mayor and Council meetings prior to 2014. (See


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  Rysavy Cert. at ¶ 20, Ex. 18). The agendas and minutes during the time period for

  which agendas and minutes are available show that the Veterans Field project was

  not on the agenda for many monthly meetings, and that the public did not comment

  on the project at most monthly meetings. (See Rysavy Cert. at ¶ 19, Ex. 17; Rysavy

  Cert. at ¶ 20, Ex. 18; Rysavy Cert. at ¶ 21, Ex. 19; Rysavy Cert. at ¶ 22, Ex. 20).

        4.     Arconic objects to this Paragraph as providing insufficient evidence to

  support the statements therein. The Paragraph merely cites to the Franz Affidavit,

  which itself cites to no evidence to support the statement that information pertaining

  to the Veterans Field project “continued to be placed on the Veterans Field Website.”

  The Borough provides no evidence as to when any of the documents currently on

  the Veterans Field website were first posted there. Moreover, dates corresponding

  to the various documents posted on the website appear to indicate that many were

  not posted for months or even years after they were created. (See e.g., Rysavy Cert.

  at ¶ 12, Ex. 10; Rysavy Cert. at ¶ 7, Ex. 5; Rysavy Cert. at ¶ 3, Ex. 1).

        5.     Arconic does not dispute that the event described in this Paragraph is

  reflected in the cited document, but inasmuch as Arconic was not a party to this

  event, Arconic can neither dispute nor affirm that this event actually occurred.

  Arconic refers to the document for the information and descriptions contained

  therein.




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        6.     Arconic objects to this Paragraph as providing insufficient evidence to

  support the statements therein. Arconic does not dispute that Exhibit 21 to the

  Supplemental Corriston Certification is a letter dated February 9, 2012, but

  inasmuch as Arconic was not a party to this event, Arconic can neither dispute nor

  affirm that the letter was ever sent out or to whom. Arconic refers to the document

  for the information and descriptions contained therein. Moreover, it appears that the

  referenced document may not have been posted on the Borough’s website until

  March 17, 2015. (See Rysavy Cert. at ¶ 23, Ex. 21).

        7.     Arconic does not dispute that the event described in this Paragraph is

  reflected in the cited documents, but inasmuch as Arconic was not a party to this

  event, Arconic can neither dispute nor affirm that this event actually occurred.

  Arconic refers to the document for the information and descriptions contained

  therein. (See Rysavy Cert. at ¶ 24, Ex. 22).

        8.     Arconic objects to this Paragraph as providing insufficient evidence to

  support the statements therein. The Borough provides no evidence as to when the

  referenced document was first posted to the Veterans Field Website. It appears that

  the referenced document may not have been posted on the Borough’s website until

  March 17, 2015. (See Rysavy Cert. at ¶ 24, Ex. 22).

        9.     Arconic objects to this Paragraph as providing insufficient evidence to

  support the statements therein. The Paragraph merely cites to the Franz Affidavit,


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  which itself cites to no evidence to support the statement that, after Waterside

  Construction “imported contaminated fill at Veterans Field in September of 2013,

  up through the completion of the Veterans Field Project in June of 2017, the website

  continued to be updated.” The Borough provides no evidence as to when any of the

  documents on the Veterans Field Website were first posted there. Moreover, dates

  corresponding to the various documents posted on the website appear to indicate that

  many were first posted months or even years after they were created. (See e.g.,

  Rysavy Cert. at ¶ 12, Ex. 10; Rysavy Cert. at ¶ 7, Ex. 5; Rysavy Cert. at ¶ 3, Ex. 1).

        10.    Arconic objects to this Paragraph and subparagraphs (a) - (e) as

  providing insufficient evidence to support the statements therein, as required by

  Local Rule 56.1. Each of the subparagraphs merely cites to Paragraphs 3 and 6 of

  the Franz Affidavit, which themselves cite to no evidence to indicate when the cited

  documents were first posted on the Borough’s website, or to support the statement

  that information pertaining to the Veterans Field project “continued to be placed on

  the Veterans Field Website.”

               a.    In addition to the objections stated above, it appears that the

        referenced document may not have been posted on the Borough’s website

        until March 17, 2015. (See Rysavy Cert. at ¶ 4, Ex. 2). Arconic further objects

        to the Borough’s paraphrase of the cited document, which leaves out

        substantial portions of the NJDEP Notice of Release to Borough of


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        Edgewater. Arconic refers to the full document for the information and

        descriptions contained therein.

              b.     In addition to the objections stated above, it appears that the

        referenced document may not have been posted on the Borough’s website

        until March 17, 2015. (See Rysavy Cert. at ¶ 12, Ex. 10). Arconic further

        objects to the Borough’s paraphrase of the cited document, which leaves out

        substantial portions of the October 18, 2013, correspondence from TERMS.

        Arconic refers to the full document for the information and descriptions

        contained therein.

              c.     In addition to the objections stated above, Arconic was unable to

        locate the referenced document on the Borough’s website. Moreover, dates

        corresponding to the various documents posted on the website appear to

        indicate that many were not posted for months or even years after they were

        created. (See e.g., Rysavy Cert. at ¶ 12, Ex. 10; Rysavy Cert. at ¶ 7, Ex. 5;

        Rysavy Cert. at ¶ 3, Ex. 1). Arconic further objects to the Borough’s

        paraphrase of the cited document, which leaves out substantial portions of the

        October 31, 2013, correspondence from TERMS. Arconic refers to the full

        document for the information and descriptions contained therein.

              d.     In addition to the objections stated above, it appears that the

        referenced document may not have been posted on the Borough’s website


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        until March 17, 2015. (See Rysavy Cert. at ¶ 29, Ex. 27). Arconic refers to

        the full document for the information and descriptions contained therein.

              e.     In addition to the objections stated above, it appears that the

        referenced document may not have been posted on the Borough’s website

        until March 17, 2015. (Rysavy Cert. at ¶ 5, Ex. 3). Arconic further objects to

        the Borough’s paraphrase of the cited document, which leaves out substantial

        portions of the January 25, 2014, correspondence from TERMS. Arconic

        refers to the full document for the information and descriptions contained

        therein.

        11.   Arconic does not dispute that the cited document reflects that a Mayor

  and Council meeting was held on January 27, 2014, but inasmuch as Arconic was

  not a party to this event, Arconic can neither dispute nor affirm that this event

  actually occurred. Arconic further objects to the Borough’s paraphrase of the cited

  document, which leaves out substantial portions of the minutes of the January 27,

  2014 meeting, and does not accurately paraphrase parts of the meeting. For example,

  the suggestion that Mr. Dooney of TERMS “made a presentation” at the meeting is

  misleading because the minutes show that Mr. Dooney made his presentation after

  the public portion of the meeting was closed. Arconic refers to the full document

  for the information and descriptions contained therein. (See Rysavy Cert. at ¶ 15,

  Ex. 13).


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        12.    Arconic disputes that the events described in this Paragraph are

  reflected in the cited documents. The Borough provides no evidence to support its

  description of “public comment strongly objecting to any cleanup standard other

  than the Residential Cleanup Standard,” and merely recites Paragraph 8 of the Franz

  Affidavit, which itself cites to no evidence in support of the statement. Moreover,

  the minutes of the January 27, 2014, and February 8, 2014, Mayor and Council

  meetings do not reflect that any member of the public “strongly object[ed] to any

  cleanup standard other than the Residential Cleanup Standard initially required for

  the Veterans Field Project dating back to 2011.” Arconic refers to the referenced

  documents for the information and descriptions contained therein. (See Rysavy Cert.

  at ¶ 15, Ex. 13; Rysavy Cert. at ¶ 14, Ex. 12).

        13.    Arconic disputes the facts stated in this Paragraph as it cites to no

  supporting evidence as required by Local Rule 56.1. Each of the subparagraphs

  merely cites to Paragraphs 3 and 6 of the Franz Affidavit, which themselves cite to

  no evidence to indicate when the cited documents were first posted on the Borough’s

  website. In addition, those paragraphs do not state or even suggest that certain

  documents were first posted on the Borough’s website “[p]rior to proceeding with

  the remediation, in conjunction with the remediation of the PCB contaminated fill

  material improperly imported to Veterans Field.” Nor do they cite to any evidence

  to support the statement in Paragraph 6 that, after Waterside “imported contaminated


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   fill at Veterans Field in September of 2013, up through the completion of the

   Veterans Field Project in June of 2017, the website continued to be updated.”

               a.     In addition to the objections stated above, it appears that the

         referenced document may not have been posted on the Borough’s website

         until March 17, 2015. (See Rysavy Cert. at ¶ 26, Ex. 24). Arconic further

         objects to the Borough’s paraphrase of the cited document, which leaves out

         substantial portions of the Borough’s February 18, 2014, Resolution. Arconic

         refers to the full document for the information and descriptions contained

         therein.

               b.     In addition to the objections stated above, it appears that the

         referenced document may not have been posted on the Borough’s website

         until March 17, 2015. (See Rysavy Cert. at ¶ 3, Ex. 1). Arconic further objects

         to the Borough’s paraphrase of the cited document, which leaves out

         substantial portions of the February 6, 2014, Remedial Action Workplan.

         Arconic refers to the full document for the information and descriptions

         contained therein.

               c.     In addition to the objections stated above, it appears that the

         referenced document may not have been posted on the Borough’s website

         until May 27, 2015. (See Rysavy Cert. at ¶ 27, Ex. 25). Arconic further

         objects to the Borough’s paraphrase of the cited document, which leaves out


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         substantial portions of the April 28, 2014, Update by Mayor Delaney. Arconic

         refers to the full document for the information and descriptions contained

         therein.

         14.   Undisputed.

         15.   Arconic objects to this Paragraph as providing insufficient evidence for

   Arconic to dispute or affirm the statements herein, which merely recite verbatim a

   paragraph of the Affidavit of Thomas Bambrick, which itself cites to no evidence to

   support the statement.

         16.   Arconic objects to this Paragraph as providing insufficient evidence for

   Arconic to dispute or affirm the statements herein, which merely recite verbatim a

   paragraph of the Affidavit of Thomas Bambrick, which itself cites to no evidence to

   support the statements. In addition, the statements in the cited paragraph are not

   based upon the affiant’s personal knowledge, constitute pure hearsay, and therefore

   are inadmissible evidence in opposition to a summary judgment motion.

         17.   Arconic objects to this Paragraph as providing insufficient evidence for

   Arconic to dispute or affirm the statements herein, which merely recite verbatim a

   paragraph of the affidavit of Thomas Bambrick, which itself cites to no evidence to

   support the statements. In addition, the statements in the cited paragraph are not

   based upon the affiant’s personal knowledge, constitute pure hearsay, and therefore

   are inadmissible evidence in opposition to a summary judgment motion.


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         18.   Arconic objects to this Paragraph as providing insufficient evidence for

   Arconic to dispute or affirm the statements herein, which merely recite verbatim a

   paragraph of the affidavit of Thomas Bambrick, which itself cites to no evidence to

   support the statements. In addition, the statements in the cited paragraph are not

   based upon the affiant’s personal knowledge, constitute pure hearsay, and therefore

   are inadmissible evidence in opposition to a summary judgment motion.

         19.   Arconic objects to this Paragraph as providing insufficient evidence for

   Arconic to dispute or affirm the statements herein, which merely recite verbatim a

   paragraph of the affidavit of Thomas Bambrick, which itself cites to no evidence to

   support the statements. In addition, the statements in the cited paragraph are not

   based upon the affiant’s personal knowledge, constitute pure hearsay, and therefore

   are inadmissible evidence in opposition to a summary judgment motion.

         20.   Arconic objects to this Paragraph as providing insufficient evidence to

   support the statements therein. The Paragraph merely cites to the Franz Affidavit,

   which does not include the statement that a Veterans Field Project update from

   Mayor Delaney was first posted on the Veterans Field Project website in July of

   2014, nor does it cite to any evidence as to when the referenced document was first

   posted to the website. Moreover, it appears that the referenced document may not

   have been posted on the Borough’s website until March 27, 2015. (See Rysavy Cert.




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   at ¶ 28, Ex. 26). Arconic refers to the full document for the information and

   descriptions contained therein.

         21.       Arconic disputes the facts stated in this Paragraph in that it cites to no

   evidence as to when any of the documents on the Veterans Field Website were first

   posted there.

            a. In addition to the objections stated above, it appears that the referenced

         documents were not posted on the Borough’s website until May 27, 2015.

         (See Rysavy Cert. at ¶ 29, Ex. 27). Arconic refers to the full document for

         the information and descriptions contained therein.

               b. In addition to the objections stated above, it appears that the referenced

         document may not have been posted on the Borough’s website until May 27,

         2015. (See Rysavy Cert. at ¶ 30, Ex. 28). Arconic further objects to the

         Borough’s paraphrase of the cited document, which leaves out substantial

         portions of the July 24, 2014, correspondence from First Environment.

         Arconic refers to the full document for the information and descriptions

         contained therein.

               c. In addition to the objections stated above, Arconic was unable to locate

         the referenced document on the Borough’s website.                 Moreover, dates

         corresponding to the various documents posted on the website appear to

         indicate that many were not posted for months or even years after they were


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         created. (See e.g., Rysavy Cert. at ¶ 3, Ex. 1; Rysavy Cert. at ¶ 12, Ex. 10;

         Rysavy Cert. at ¶ 14, Ex. 12). Arconic further objects to the Borough’s

         paraphrase of the cited document, which leaves out substantial portions of the

         September 8, 2014, USEPA letter. (See Rysavy Cert. at ¶ 31, Ex. 29). Arconic

         refers to the full document for the information and descriptions contained

         therein.

         22.    Arconic does not dispute that the event described in this Paragraph is

   reflected in the cited document, but inasmuch as Arconic was not a party to this

   event, Arconic can neither dispute nor affirm that this event actually occurred.

   Arconic further objects to the Borough’s paraphrase of the cited document, which is

   misleading and leaves out substantial portions of the minutes of the July 23, 2014,

   Borough and Council meeting. For example, the summaries of public comments in

   the minutes reveal no questions or comments about the substance of the SIP. (See

   Rysavy Cert. at ¶ 9, Ex. 7). Arconic refers to the full document for the information

   and descriptions contained therein.

         23.    Arconic does not dispute that the event described in this Paragraph is

   reflected in the cited document, but inasmuch as Arconic was not a party to this

   event, Arconic can neither dispute nor affirm that this event actually occurred.

         24.    Undisputed, except that Arconic refers to the full document for the

   information and descriptions contained therein.


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          25.   Arconic disputes the Borough’s paraphrase of the cited documents.

   Arconic refers to the full documents for the information and descriptions contained

   therein.

          26.   Arconic disputes that the event described in this Paragraph is reflected

   in the cited documents. For example, the minutes state that the meeting held with

   First Environment was held in a closed session, not in the presence of the public.

   (See Rysavy Cert. at ¶ 11, Ex. 9). Arconic refers to the full document for the

   information and descriptions contained therein.

          27.   Arconic disputes that the event described in this Paragraph is reflected

   in the cited documents. For example, a review of the document does not include the

   purported authorization referenced by the Borough. (See Rysavy Cert. at ¶ 11, Ex.

   9).   Arconic refers to the full document for the information and descriptions

   contained therein.

          28.   Undisputed, except that the Borough’s paraphrase of the cited

   document leaves out substantial portions of USEPA’s Amended Approval. Arconic

   refers to the full document for the information and descriptions contained therein.

   (See Rysavy Cert. at ¶ 32, Ex. 30).

          29.   Arconic objects to this Paragraph as providing insufficient evidence to

   support the statements therein. (See Rysavy Cert. at ¶ 32, Ex. 30). Arconic was

   unable to locate the referenced document on the Borough’s website. Moreover, the


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   Borough provides no evidence as to when any of the documents on the Veterans

   Field website were first posted there. The Paragraph merely cites to the Franz

   Affidavit, which itself cites to no evidence regarding when the cited document was

   first posted on the Borough’s website.



   Dated: September 11, 2020
                                                 Respectfully submitted,

                                                 K&L GATES LLP

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                                                    Jersey, Inc.)




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